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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                          April 18, 2024

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 21-14185-JJ
Case Style: Tammie Terrell v. Secretary, Department of Veterans Affairs
District Court Docket No: 8:20-cv-00064-WFJ-AEP

Opinion Issued
Enclosed is a copy of the Court's decision issued today in this case. Judgment has been entered
today pursuant to FRAP 36. The Court's mandate will issue at a later date pursuant to FRAP
41(b).

Petitions for Rehearing
The time for filing a petition for panel rehearing is governed by 11th Cir. R. 40-3, and the time
for filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
provided by FRAP 25(a) for inmate filings, a petition for rehearing is timely only if received in
the clerk's office within the time specified in the rules. A petition for rehearing must include
a Certificate of Interested Persons and a copy of the opinion sought to be reheard. See 11th
Cir. R. 35-5(k) and 40-1.

Costs
Costs are taxed against Appellant(s) / Petitioner(s).

Bill of Costs
If costs are taxed, please use the most recent version of the Bill of Costs form available on the
Court's website at www.ca11.uscourts.gov. For more information regarding costs, see FRAP 39
and 11th Cir. R. 39-1.

Attorney's Fees
The time to file and required documentation for an application for attorney's fees and any
objection to the application are governed by 11th Cir. R. 39-2 and 39-3.

Appointed Counsel
Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
compensation via the eVoucher system no later than 45 days after issuance of the mandate or
the filing of a petition for writ of certiorari. Please contact the CJA Team at (404) 335-6167 or
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cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
system.

Clerk's Office Phone Numbers
General Information: 404-335-6100      Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135      Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125         Cases Set for Oral Argument: 404-335-6141



                                                        OPIN-1 Ntc of Issuance of Opinion
